Case: 1:22-cv-01291 Document #: 1-10 Filed: 03/10/22 Page 1 of 3 PageID #:63




                      Exhibit J
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